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                        IN THE UNITED STATES DISTRICT COURT FOR THE
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                                   EASTERN DISTRICT OF CALIFORNIA
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        UNITED STATES OF AMERICA,           )             CASE NO. CRF-04-5171- AWI
11                                          )
                              Plaintiff,    )             ORDER REQUIRING ATTORNEY
12                                          )             GEORGE BUMANGLAG TO SHOW
              v.                            )             CAUSE WHY HE SHOULD
13                                          )             CONTINUE TO REPRESENT
        LUIS CASTENEDA ORTEGA, aka          )             DEFENDANT LUIS CASTENEDA
14      Luis Ortega Casteneda, aka Hugo     )             ORTEGA
        Ortega Sotelo, et al,               )
15                                          )
                              Defendants.   )
16      ____________________________________)
17
18          The following facts have come to the court’s attention: The court has received
19   information that Attorney George Bumanglag has a matter pending before the State Bar Court of
20   California.
21          Accordingly, Attorney George Bumanglag is ORDERED to SHOW CAUSE at 9:00 a.m.
22   on July 30, 2007 in Courtroom 2 on why he should continue to represent Defendant Luis
23   Casteneda Ortega in this case.
24   IT IS SO ORDERED.
25   Dated:        July 13, 2007                     /s/ Anthony W. Ishii
     0m8i78                                    UNITED STATES DISTRICT JUDGE
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